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EXHIBIT ZZ
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Geraldine A. Wyle, State Bar No. 089735 FILED

Jeryll S. Cohen, State Bar No. 125392 oe T
Jeffrey D. Wexler, State Bar No. 132256 LOS ANGELES SUPERIOR COUR
Vivian L. Thoreen, State Bar No. 224162

LUCE, FORWARD, HAMILTON & SCRIPPS LLP FEB 14 2008

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Attorneys for James P. Spears,

Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Estate of Case No. BP 108870

BRITNEY JEAN SPEARS, ORDER EXTENDING TEMPORARY
LETTERS OF CONSERVATORSHIP OF
THE ESTATE

Proposed Conservatee.

Date: February 14, 2008

Time: 1:30 p.m.

Dept.: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

The further hearing on the Petition for Appointment of Temporary Conservator of the
Estate of Britney Jean Spears (“Ms. Spears”), filed by James P. Spears, came on regularly for
hearing on February 14, 2008 at 1:30 p.m. in Department 9 of the Los Angeles Superior Court,
Central District, the Honorable Reva Goetz, Judge Pro Tem presiding. Geraldine A. Wyle and
Jeryll S. Cohen of Luce, Forward, Hamilton & Scripps LLP appeared on behalf of Petitioner
James P. Spears (“Mr. Spears’), Temporary Conservator of the Person and Co-Conservator of the
Estate of Ms. Spears. Mr. Spears appeared personally. Samuel D. Ingham III appeared as the
court-appointed PVP counsel on behalf of Ms. Spears. Andrew M. Wallet of Hinojosa & Wallet

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appeared on behalf of Andrew M. Wallet as Co-Conservator of the Estate of Ms. Spears. Mitchell
L. Gaswirth of Proskauer Rose LLP appeared on behalf of Ivan Taback. Clark R. Byam of Hahn

& Hahn LLP appeared on behalf of Bryan Spears. From proof made to the satisfaction of the

court,

THE COURT FINDS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed
with.

2. It is in the best interest of the Conservatee that the Temporary Conservatorship be

continued over the Conservatee’s Estate.

3. It is necessary and appropriate that the Letters of Temporary Conservatorship of the
Estate issued to Mr. Spears and Mr. Wallet on February 1, 2008 be extended to
March (0 , 2008 for further hearing.

4, The bond fixed by the Court’s prior Order in the amount of $50,000.00 for each

Co-Conservator is sufficient.

THE COURT ORDERS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed
with.

2. Ms. Spears’ attendance at the hearing is waived.

3. Letters of Temporary Conservatorship of the Estate issued to James P. Spears and

Andrew M. Wallet on February 1, 2008 are extended to MVMAVGh (0 , 2008.

4. The Temporary Conservators of the Estate are granted the following powers in

addition to the powers provided by law:

a. The Temporary Conservators shall have the power to obtain all documents and
records relating to the Conservatee and her assets, whether held in her name or
in the name of another, including but not limited to, all records currently in the
possession and control of the Conservatee’s business manager, Howard
Grossman, her attorneys, and others, all contracts, information relating to credit
cards, bank statements, estate planning documents, receivables, and any and all

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powers of attorney.

b. The Temporary Conservators shall have the power to take all actions necessary
to secure the Conservatee’s assets, including the power to enter and take
possession and control of the Conservatee’s residence, to remove all persons
from the residence and take any and all actions necessary to secure the
residence, including changing the locks, call on law enforcement and employ
security guards at the expense of the Conservatorship Estate.

c. The Temporary Conservators shall have the power to take all actions necessary
to secure the Conservatee’s liquid assets, including but not limited to, the power
to cancel all credit cards.

d. The Temporary Conservators shall have the power to revoke all powers of
attorneys, including powers of attorney for making health care decisions and
managing real estate, and to terminate any and all agencies.

e. The Temporary Conservators shall have the power to commence and maintain
litigation and participate in any litigation with respect to which the Conservatee
is a party or has an interest, and the power to retain counsel and experts, and to
pay same from the Conservatorship Estate, not only as to the family law case
but for any other matter.

f. The Temporary Conservators have the power to perform any and all acts that
the Conservatee can perform (whether as an individual or in a representative
capacity) with respect to the local, state, or federal tax liabilities of the
Conservatee or any entity, trust or foundation in which the Conservatee acts in
a representative or ownership capacity (collectively referred to as “Conservatee
and related entities”), including but not limited to the power to receive and
inspect confidential tax information; receive, and endorse or cash refund
checks; sign any and all tax returns, whether income, corporate, employment,
partnership, or otherwise; execute a Form 2848: represent the Conservatee and
related entities before all taxing authorities, participate in audits; exercise the
rights of the Conservatee and related entities to protest and appeal assessments;
pay amounts due to the appropriate taxing authority; execute waivers, tax
returns, consents, closing agreements, and similar documents related to the tax
liability of the Conservatee and related entities; participate in all procedural
matters connected with the tax liability of the Conservatee and related entities;
exercise any elections that may be available to the Conservatee and related
entities under applicable state or federal tax laws or regulations; to substitute
another representative; to request disclosure of tax returns or return information
to a third party; and to perform any other acts described in California Probate
Code section 4463, except those acts that conflict with or are limited by a more
specific provision in this Power.

g. The Temporary Conservators have the power to assert the Conservatee’s rights
in any trust established for her benefit, including but not limited to all revocable
inter vivos trusts established by the Conservatee as settlor or trustor, but this
power shall not include the power to modify, amend, or revoke any such trusts,

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without a court order.

5. The Court grants the Temporary Conservators the powers pursuant to Probate Code
Section 2590 and the following powers set forth in Probate Code Section 2591:

a. To contract for the conservatorship and perform outstanding contracts and
thereby bind the estate, including asserting or waiving confidentiality

agreements.
b. To operate at the risk of the estate a business constituting an asset of the estate.
c. To pay, collect, compromise, arbitrate, or otherwise adjust claims, debts, or
demands upon the Conservatorship Estate.
d. To employ attorneys, accountants, investment counsel, agents, depositaries, and
employees and to pay the expenses.
6, The Temporary Conservators have the power to prosecute civil harassment
restraining orders that they deem to be appropriate.
7. The Temporary Conservators are authorized and directed to pay, or to direct the
| Co-Trustees of the SJB Revocable Trust, to pay, to Stephen S. Marmer, M.D., Ph.D., the court-
appointed expert under California Evidence Code section 730, a retainer in the amount of
$5,000.00.
8. The Conservatee shall not have any contact, direct or indirect, with Osama aka Sam

Lutfi, including telephone calls, text messaging, or email communications.

9, The Conservatee is to remain in California pending the hearing on the Petition for
Appointment of Permanent Conservator, the written consent of the Conservator of the Person, or
until fyavdh (0 2008 at_(*30 soir (fim, )or further order of the Court.

10. The bond fixed by the Court’s prior Order in the amount of $50,000.00 for each

Co-Conservator is sufficient.
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APPROVED AS TO FORM AND CONTENT:

Dated: cfy- LO By:

11. The next hearing in this matter is set for M4") (0 , 2008 at (‘20

P Counsel for
Britney Jean Spears

Samuel D. Ingham II],
Temporary Conserva

Dated: 2-14-0b wy LEELA A

| IT IS SO ORDERED.

Dated: 24) fol

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Andrew Wallet, Tersporary Co-
Conservator of the Estate of Britney Jean
Spears

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Hon. Reva Goetz, Ju ro Tem
Superior Court, State Of California

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CUMENT TO WHICH THIS CERTIFICATE IS
ED IS A PULL, TRUE, Aso CGRRECT COPY
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ovrst___ FEB 14 2008
JORN A. CLARKE, CLERK/EXECUTIVE OFFICER

Executive Cficer/Clerk of the Superior

Court oC pifornia, County of Los Angeles
By ,Deputy

